 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 1 of 9 PageID: 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                                  NEWARK DIVISION


 JANA REED,
                                                                  Case No:
                                        Plaintiff,

                               v.
                                                                  JURY TRIAL DEMANDED
 LYONS, DOUGHTY & VELDHUIS, P.C.,

                                        Defendant.


       Plaintiff, Jana Reed, by and through the undersigned counsel, complains, states, and alleges

against defendant Lyons, Doughty & Veldhuis, P.C., as follows:

                                        INTRODUCTION

       1.      This is an action to recover damages for violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”).

       2.      In 1977, Congress enacted the Fair Debt Collection Practices Act (“FDCPA”),

codified at 15 USC §§ 1692 et seq., in response to the “abundant evidence of the use of abusive,

deceptive, and unfair debt collection practices by many debt collectors.” 15 U.S.C. § 1692(a). At

that time, Congress was concerned that “abusive debt collection practices contribute to the number

of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual

privacy.” Id. Congress concluded that “existing laws . . . [we]re inadequate to protect consumers,”

and that “the effective collection of debts” does not require “misrepresentation or other abusive

debt collection practices.” 15 U.S.C. §§ 1692(b) and (c).

       3.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to “ensure that those debt collectors who refrain from using


                                                     1
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 2 of 9 PageID: 2




abusive debt collection practices are not competitively disadvantaged.” Id., § 1692(e). After

determining that the existing consumer protection laws were inadequate, Congress gave consumers

a private cause of action against debt collectors who failed to comply with the Act. Id., § 1692k.

        4.      In determining whether a collection letter violates the FDCPA, courts in the Third

Circuit apply the “least sophisticated consumer standard.” Jensen v. Pressler & Pressler, 791 F.3d

413, 418 (3d Cir. 2015). The standard is an objective one, meaning the specific consumer need not

prove that she was actually confused or misled. See Pollard v. Law Office of Mandy L. Spaulding,

766 F.3d 98, 103 (1st Cir. 2014) (“[T]he FDCPA does not require that a plaintiff actually be

confused.”)

        5.      The FDCPA does not ordinarily require proof of an intentional violation, and is

considered a strict liability statute, whereby a single violation is sufficient to establish civil liability

against a debt collector.

                                   JURISDICTION AND VENUE
        6.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331, 28

U.S.C. § 1337 and 15 U.S.C. § 1692k(d). The Court has supplemental jurisdiction of any state

law claims pursuant to 28 U.S.C. §1367.

        7.      This court has jurisdiction over Defendant, Lyons, Doughty & Veldhuis, P.C.

because it regularly conducts and transacts business in this state, and the conduct complained of

herein occurred in this Judicial District.

        8.      Venue is proper in this Judicial District under 28 U.S.C. § 1391(b) because a

substantial part of the conduct complained of herein occurred in this Judicial District.

                                               PARTIES
        9.      Plaintiff Jana Reed (“Plaintiff”) is a natural person who, at all times relevant hereto,

was a residing in Essex County, State of New Jersey.



                                                     2
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 3 of 9 PageID: 3




          10.   Plaintiff is a “consumer” as that term defined by 15 U.S.C. § 1692a(3).

          11.   Defendant Lyons, Doughty & Veldhuis, P.C. (“Defendant”) is a law firm and

company existing under the laws of the State of New Jersey, with its principal place of business in

Mt. Laurel, New Jersey.

          12.   Defendant has transacted business within this state as is more fully set forth

hereinafter in this Complaint.

          13.   Defendant regularly collects or attempts to collect debts asserted to be owed to

others.

          14.   Defendant is regularly engaged, for profit, in the collection of debts allegedly owed

by consumers.

          15.   The principal purpose of Defendant’s businesses is the collection of such debts.

          16.   Defendant uses instrumentalities of interstate commerce, including telephones and

the mails, in furtherance of its debt collection business.

          17.   Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

          18.   The acts of Defendant as described in this Complaint were performed by Defendant

or on Defendant’s behalf by its owners, officers, agents, and/or employees acting within the scope

of their actual or apparent authority. As such, all references to “Defendant” in this Complaint shall

mean Defendant or its owners, officers, agents, and/or employees.

                                  FACTUAL ALLEGATIONS
          19.   Sometime after March 31, 2021, Plaintiff received and read a letter from Defendant,

dated March 31, 2021 (the “Letter”) regarding an alleged debt owed to Capital One Bank (USA),

N.A. (the “alleged Debt”).




                                                  3
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 4 of 9 PageID: 4




       20.     The alleged Debt is an alleged obligation of Plaintiff to pay money arising out of a

transaction in which the money, property, insurance, or services which are the subject of the

transaction are primarily for personal, family, or household purposes.

       21.     The alleged Debt does not arise from any business enterprise of Plaintiff.

       22.     The alleged Debt is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

       23.     At an exact time known only to Defendant, the alleged Debt was assigned or

otherwise transferred to Defendant for collection.

       24.     At the time the alleged Debt was assigned or otherwise transferred to Defendant for

collection, the alleged Debt was in default.

       25.     The Letter, which conveyed information about the alleged Debt, is a

“communication” as that term is defined by 15 U.S.C. § 1692a(2).

       26.     The Letter was the initial letter Plaintiff received from Defendant.

       27.     The Letter was sent on Defendant’s law firm’s letterhead in order to give the

Plaintiff the impression that an attorney was meaningfully involved in the review and sending of

the Letter, when in fact no attorney reviewed Plaintiff’s account or the underlying agreement with

the creditor prior to Defendant sending the Letter.

       28.     As evidence of the above, the Letter includes an alleged signature of an attorney

with the Defendant.

       29.     Upon information and belief, the signature in the Letter is not that of David R.

Lyons, Esq.

       30.     The Letter states, in the relevant part, “Although no interest is accruing on your

account, your balance may increase in the future due to other charges allowed by your agreement

and/or by law.”




                                                 4
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 5 of 9 PageID: 5




        31.    At the time of the Letter, the alleged Debt had already been charged off by the

creditor.

        32.    Since the alleged Debt had already been charged off by the creditor, Plaintiff would

no longer incur other charges with respect to the alleged Debt.

        33.    Therefore, the foregoing statement in the Letter was false, misleading, and/or

deceptive since the alleged Debt balance would not increase.

        34.    Defendant intentionally provides false, misleading, and/or deceptive statements

intended to have a coercive effect to pressure consumers into sending money quickly.

        35.    Defendant sends mass form letters to consumers lending its letterhead in order to

provide the impression that the letter is from an attorney and an attorney reviewed the consumer’s

account prior to sending of the letter.

        36.    Defendant’s intentional or negligent conduct of attempting to collect debts using a

law firm’s letterhead without meaningful involvement of an attorney and providing false,

misleading, and/or deceptive information caused Plaintiff concern and confusion, causing Plaintiff

emotional distress, anxiety, worry, and sleeplessness, causing Plaintiff to spend time to retain

counsel, causing Plaintiff loss of time.

        37.    Plaintiff had to spend time in order to retain counsel to investigate Defendant’s

conduct described herein.

        38.    The foregoing conduct of Defendant violates the FDCPA, entitling Plaintiff to

statutory damages and actual damages, along with reasonable attorneys’ fees.

                                        FIRST COUNT
                     Violation of 15 U.S.C. §§ 1692e, 1692e(3) and 1692e(9)
        39.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.




                                                 5
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 6 of 9 PageID: 6




        40.      15 U.S.C. § 1692e provides, generally, that a debt collector may not use any false,

deceptive, or misleading representation or means in connection with the collection of any debt.

        41.      15 U.S.C. § 1692e(3) prohibits the use of any false representation or implication

that any individual is an attorney or that any communication is from an attorney.

        42.      15 U.S.C. § 1692e(9) prohibits the use or distribution of any written communication

…which creates a false impression as to its source, authorization, or approval.

        43.      Section 1692e(3) requires that collection attorneys be “meaningfully involved” in

the review of a consumer’s file before sending a collection letter. See, e.g., Clomon v. Jackson,

988 F.2d 1314, 1320-21 (2d Cir. 1993); Avila v. Rubin, 84 F.3d 222, 228-29 (7th Cir. 1996).

        44.      The Letter was sent on Defendant’s law firm’s letterhead.

        45.      The Letter contained an alleged signature of an attorney.

        46.      The alleged signature is not that of David Lyons, Esq.

        47.      The Letter was sent to provide the false representation it was from an attorney.

        48.      The Letter falsely implies that an attorney had reviewed Plaintiff’s account.

        49.      The Letter falsely implies that an attorney had reviewed the underlying agreement

between Plaintiff and the alleged creditor.

        50.      The Letter falsely implies that an attorney reviewed Plaintiff’s file.

        51.      The Letter falsely implies that an attorney was involved in the creation and mailing

of the Letter.

        52.      The Letter falsely implies that an attorney reviewed and signed the Letter prior to

mailing.

        53.      Upon information and belief, Defendant sends form collection letters thousands of

times to consumers in New Jersey.




                                                   6
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 7 of 9 PageID: 7




        54.    Upon information and belief, the Letter is a form template that is populated with

consumer data from a spreadsheet and sent to consumers without meaningful review by an

attorney.

        55.    Defendant sends form collection letters without an attorney’s meaningful

involvement for the sole purpose of maximizing its profits.

        56.    Defendant violated 15 U.S.C. §§ 1692e, 1692e(3) and 1692e(9) when it sent the

Letter lending the law firm’s letterhead without an attorney being meaningfully involved.

        57.    For the foregoing reasons, Defendant violated 15 U.S.C. §§ 1692e, 1692e(3) and

1692e(9) and is liable to Plaintiff therefor.

                                      SECOND COUNT
                  Violation of 15 U.S.C. §§ 1692e, 1692e(2)(A) and 1692e(10)
        58.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.

        59.    15 U.S.C. § 1692e provides, generally, that a debt collector may not use any false,

deceptive, or misleading representation or means in connection with the collection of any debt.

        60.    15 U.S.C. § 1692e(2)(A) prohibits the false representation of the character, amount,

or legal status of any debt.

        61.    15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive

means to collect or attempt to collect any debt.

        62.    The Letter states, in the relevant part, “Although no interest is accruing on your

account, your balance may increase in the future due to other charges allowed by your agreement

and/or by law.”

        63.    At the time of the Letter, the alleged Debt had already been charged off by the

creditor.

        64.    The least sophisticated consumer is led to be confused by this statement.



                                                   7
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 8 of 9 PageID: 8




         65.   On one hand, the letter states that “no interest is accruing.” On the other hand, the

letter states that the “balance may increase in the future due to other charges.”

         66.   Because this is a charged off debt, no interest should accrue.

         67.   It is common practice for banks not to charge any additional fees or interest after

charging off an account.

         68.   Upon information and belief, it is the common practice of the creditor of the alleged

Debt not to charge any additional fees or interest after charging off an account.

         69.   The letter does not specifically state what other charges may be added.

         70.   The least sophisticated consumer would be led to believe upon receipt of such letter

that, without specificity, the other charges that accrue may be interest and/or fees on a charged off

debt.

         71.   Therefore, the foregoing statement in the Letter was false, misleading, and/or

deceptive since the alleged Debt balance was not going to increase.

         72.   Defendant intentionally provides false, misleading, and/or deceptive statements

intended to have a coercive effect to pressure consumers into sending money quickly.

         73.   Defendant’s statement that Plaintiff’s balance may increase in the future due to

other charges, is a false, misleading, and/or deceptive representation, in violation of 15 U.S.C. §

1692e.

         74.   Defendant’s statement that Plaintiff’s balance may increase in the future due to

other charges, is a false representation of the character, amount, or legal status of the alleged Debt,

in violation of 15 U.S.C. § 1692e(2)(A).




                                                  8
 Case 2:22-cv-00999-CCC-AME Document 1 Filed 02/25/22 Page 9 of 9 PageID: 9




       75.     Defendant’s statement that Plaintiff’s balance may increase in the future due to

other charges, is a false representation or deceptive means to collect or attempt to collect the

alleged Debt, in violation of 15 U.S.C. § 1692e(10).

       76.     For the foregoing reasons, Defendant violated 15 U.S.C. §§ 1692e, 1692e(2)(A)

and 1692e(10) and is liable to Plaintiff therefor.

                                         JURY DEMAND
       77.     Plaintiff hereby demands a trial of this action by jury.

                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests judgment be entered as follows:

               a.      Finding Defendant’s actions violate the FDCPA; and

               b.      Awarding damages to Plaintiff pursuant to 15
                       U.S.C. § 1692k; and

               c.      Awarding Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. §
                       1692k, calculated on a “lodestar” basis; and

               d.      Awarding the costs of this action to Plaintiff; and

               e.      Awarding pre-judgment interest and post-judgment interest to
                       Plaintiff; all together with

               f.      Such other and further relief that the Court determines is just and proper.


DATED: February 22, 2022

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                                                     9
